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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


Drew Katz and Melissa Silver, individually
and as the co-Personal Representatives of the
Estate of LEWIS A. KATZ, deceased,

                              Plaintiffs,
v.
                                                 Civil Action No. 1:16-cv-11380 (DJC)
SPINIELLO COMPANIES, a New Jersey
Corporation; SK TRAVEL, LLC, a North
Carolina Limited Liability Company; ARIZIN
VENTURES LLC, a Delaware Limited
Liability Company; CAROL MCDOWELL, in
her capacity as Personal Representative of the
ESTATE OF JAMES MCDOWELL,
deceased, a resident of Delaware; SHELLY
DEVRIES, in her capacity as Personal
Representative of the ESTATE OF BAUKE
DEVRIES, deceased, a resident of New Jersey;
GULFSTREAM AEROSPACE
CORPORATION, a Georgia Corporation;               August 21, 2017
GULFSTREAM AEROSPACE
CORPORATION, a Delaware Corporation;
GULFSTREAM AEROSPACE SERVICES
CORPORATION, d/b/a Gulfstream Aerospace
Corporation, a Delaware Corporation;
ROCKWELL COLLINS, INC., an Iowa
Corporation; HONEYWELL
INTERNATIONAL, INC., a Delaware
Corporation; and the MASSACHUSETTS
PORT AUTHORITY, an independent public
authority of the Commonwealth of
Massachusetts,

                              Defendants.

SK TRAVEL, LLC, et al.,

                     Third-Party Plaintiffs,

v.

United States of America,

                  Third-Party Defendant.
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                 ANSWER OF DEFENDANT SPINIELLO COMPANIES
            TO PLAINTIFFS’ CORRECTED SECOND AMENDED COMPLAINT

       Defendant SPINIELLO COMPANIES (“SPINIELLO”), by and through its attorneys SA

Law, P.C. and Kaplan, Massamillo & Andrews, LLC, hereby answers Plaintiffs’ Corrected

Second Amended Complaint and Demand for Trial By Jury (“Complaint”) as follows:

                                      General Allegations

       1.      SPINIELLO denies it is a New Jersey Corporation, and denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 1

of the Complaint.

       2.      SPINIELLO denies knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 2 of the Complaint.

       3.      Paragraph 3 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 3 of the Complaint.

       4.      Paragraph 4 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 4 of the Complaint.

       5.      Paragraph 5 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 5 of the Complaint.



                                               The Parties
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       6.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 6 of the Complaint.

       7.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 7 of the Complaint.

       8.      SPINIELLO denies t he allegat io ns in Paragraph 8 o f t he Co mp laint

wit h respect to it s corporat e name, it s St at e o f inco rporat io n, and ad mit s it has a

place o f business in New Jersey. SPINIELLO denies knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in Paragraph 8 of the Complaint.

       9.       SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 9 of the Complaint.

       10.     SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 10 of the Complaint.

       11.     SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 11 of the Complaint.

       12.     SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 12 of the Complaint.

       13.     SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 13 of the Complaint.

       14.     SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 14 of the Complaint.

       15.     SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 15 of the Complaint.

       16.     SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 16 of the Complaint.

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       17.      SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 17 of the Complaint.

       18.      SPINIELLO denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 18 of the Complaint.

                                  Subject Matter Jurisdiction

       19.      Paragraph 19 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 19 of the Complaint.

                                     Personal Jurisdiction

       20.     Paragraph 20 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 20 of the Complaint.

       21.     Paragraph 21 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 21 of the Complaint.

       22.     SPINIELLO denies the Court may exercise personal jurisdiction over

SPINIELLO and denies SPINIELLO “acted ‘directly or by an agent’ to cause ‘tortious injury by

an act or omission in this commonwealth’”. To the extent the allegations are directed to

SPINIELLO, SPINIELLO denies knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 22 of the Complaint.

       23.     Paragraph 23 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the
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extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 23 of the Complaint.

       24.     SPINIELLO denies the Court may exercise personal jurisdiction over

SPINIELLO and denies personal jurisdiction over SPINIELLO comports with the Due Process

Clause of the U.S. Constitution. Paragraph 24 of the Complaint alleges conclusions of law to

which no response is required, and SPINIELLO refers all questions of law to the Court for

determination. To the extent the allegations are directed to SPINIELLO, SPINIELLO denies

knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 24 of the Complaint.

       25.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 25 of the Complaint.

       26.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 26 of the Complaint.

       27.     SPINIELLO denies knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 27 of the Complaint.

       28.     SPINIELLO denies knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 28 of the Complaint.

       29.     Paragraph 29 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 29 of the Complaint.

       30.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 30 of the Complaint.

       31.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 31 of the Complaint.
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       32.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 32 of the Complaint.

       33.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 33 of the Complaint.

       34.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 34 of the Complaint.

       35.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 35 of the Complaint.

       36.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 36 of the Complaint.

       37.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 37 of the Complaint.

       38.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 38 of the Complaint.

       39.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 39 of the Complaint.

       39a (sic).     SPINIELLO denies knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 39a of the Complaint.

       40.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 40 of the Complaint.

       41.     Paragraph 41 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 41 of the Complaint.



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       42.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 42 of the Complaint.

       43.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 43 of the Complaint.

       44.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 44 of the Complaint.

       45.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 45 of the Complaint.

       46.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 46 of the Complaint.

       47.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 47 of the Complaint.

       48.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 48 of the Complaint.

       49.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 49 of the Complaint.

       50.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 50 of the Complaint.

       51.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 51 of the Complaint.

       52.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 52 of the Amended Complaint.

       53.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 53 of the Complaint.



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       54.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 54 of the Complaint.

       55.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 55 of the Complaint.

                                             Venue

       56.     Paragraph 56 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 56 of the Complaint.

       57.     Paragraph 57 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 57 of the Complaint.

       58.     Paragraph 58 of the Complaint alleges conclusions of law to which no response is

required, and SPINIELLO refers all questions of law to the Court for determination. To the

extent the allegations are directed to SPINIELLO, SPINIELLO denies knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 58 of the Complaint.

                                           The Facts

                                          Introduction

       59.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 59 of the Complaint.

       60.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 60 of the Complaint.

       61.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 61 of the Complaint.
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       62.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 62 of the Complaint.

                     The Sequence of Events and the Pilots’ Negligence

       63.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 63 of the Complaint.

       64.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 64 of the Complaint.

       65.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 65 of the Complaint.

       66.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 66 of the Complaint.

       67.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 67 of the Complaint.

       68.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 68 of the Complaint.

       69.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 69 of the Complaint.

       70.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 70 of the Complaint.

       71.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 71 of the Complaint.

       72.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 72 of the Complaint.

       73.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 73 of the Complaint.
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       74.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 74 of the Complaint.

       75.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 75 of the Complaint.

       76.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 76 of the Complaint.

       77.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 77 of the Complaint.

       78.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 78 of the Complaint.

       79.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 79 of the Complaint.

       80.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 80 of the Complaint.

       81.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 81 of the Complaint.

       82.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 82 of the Complaint.

       83.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 83 of the Complaint.

       84.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 84 of the Complaint.

       85.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 85 of the Complaint.



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       86.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 86 of the Complaint.

       87.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 87 of the Complaint.

       88.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 88 of the Complaint.

       89.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 89 of the Complaint.

       90.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 90 of the Complaint.

       91.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 91 of the Complaint.

       92.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 92 of the Complaint.

       93.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 93 of the Complaint.

       94.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 94 of the Complaint.

       95.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 95 of the Complaint.

       96.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 96 of the Complaint.

                     The Owners and Operators of the Subject Aircraft

       97.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 97 of the Complaint.
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       98.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 98 of the Complaint.

       99.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 99 of the Complaint.

       100.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 100 of the Complaint.

       101.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 101 of the Complaint.

                                   The Defective Products

       102.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 102 of the Complaint.

       103.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 103 of the Complaint.

       104.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 104 of the Complaint.

       105.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 105 of the Complaint.

       106.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 106 of the Complaint.

       107.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 107 of the Complaint.

     GULFSTREAM’s Misrepresentations to the Federal Aviation Authority (“FAA”)

       108.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 108 of the Complaint.



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       109.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 109 of the Complaint.

       110.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 110 of the Complaint.

       111.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 111 of the Complaint.

       112.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 112 of the Complaint.

       113.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 113 of the Complaint.

       114.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 114 of the Complaint.

       115.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 115 of the Complaint.

       116.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 116 of the Complaint.

       117.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 117 of the Complaint.

       118.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 118 of the Complaint.

                    GULFSTREAM’s and GULFSTREAM SERVICES’
                        Maintenance, Inspections, and Repairs

       119.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 119 of the Complaint.




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       120.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 120 of the Complaint.

       121.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 121 of the Complaint.

                                  MASSPORT’s Negligence

       122.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 122 of the Complaint.

       123.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 123 of the Complaint.

       124.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 124 of the Complaint.

       125.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 125 of the Complaint.

       126.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 126 of the Complaint.

       127.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 127 of the Complaint.

       128.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 128 of the Complaint.

       129.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 129 of the Complaint.

       130.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 130 of the Complaint.

       131.   SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 131 of the Complaint.
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       132.    SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 132 of the Complaint.

                                     COUNT 1
           CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE AND
           VICARIOUS LIABILITY, PURSUANT TO MASS. GEN. LAWS CH. 229 § 2
                    AND FLA. STAT. § 768.21, AGAINST SPINIELLO

       133.    SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through 132

of the Complaint as if fully set forth herein.

       134.     SPINIELLO denies knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 134 of the Complaint.

       135.     Paragraph 135 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 135 of the Complaint.

       136.     Paragraph 136 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 136 of the Complaint.

       137.    Paragraph 137 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 137 of the Complaint.

       138.     Paragraph 138 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 138 of the Complaint.


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       139.     Paragraph 139 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 139 of the Complaint.

       140.     Paragraph 140 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 140 of the Complaint.

       141.     Paragraph 141 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in paragraph 141 of the Complaint.

       142.     Paragraph 142 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in paragraph 142 of the Complaint.

                                        COUNT 2
                             CLAIM OF CONSCIOUS SUFFERING,
                          PURSUANT TO MASS. GEN. LAWS CH. 229, § 6,
                                   AGAINST SPINIELLO

       143.    SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through 132

of the Complaint as if fully set forth herein.

       144.    SPINIELLO denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 144 of the Complaint.

       145.     Paragraph 145 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.


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SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 145 of the Complaint.

       146.    Paragraph 146 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 146 of the Complaint.

       147.    Paragraph 147 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 147 of the Complaint.

       148.    Paragraph 148 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 148 of the Complaint.

       149.    Paragraph 149 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 149 of the Complaint.

       150.    Paragraph 150 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 150 of the Complaint.

       151.    Paragraph 151 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.



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SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 151 of the Complaint.

       152.     Paragraph 152 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 152 of the Complaint.

                               COUNT 3
CLAIM FOR PUNITIVE DAMAGES, PURSUANT TO MASS. GEN. LAWS CH. 229 § 2,
                       AGAINST SPINIELLO

       153.    SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through 132

of the Complaint as if fully set forth herein.

       154.    SPINIELLO denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 154 of the Complaint.

       155.     Paragraph 155 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 155 of the Complaint.

       156.    Paragraph 156 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 156 of the Complaint.

       157.    Paragraph 157 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 157 of the Complaint.



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       158.    Paragraph 158 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 158 of the Complaint.

       159.    Paragraph 159 of the Complaint alleges conclusions of law to which no response

is required, and SPINIELLO refers all questions of law to the Court for determination.

SPINIELLO denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 159 of the Complaint.

                                      COUNT 4
           CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE AND
           VICARIOUS LIABILITY, PURSUANT TO MASS. GEN. LAWS CH. 229 § 2
                    AND FLA. STAT. § 768.21, AGAINST SK TRAVEL

       160.    SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through 132

of the Complaint as if fully set forth herein.

       161. - 169.     SPINIELLO does not respond to the allegations contained in Paragraphs

161 through 169 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 161 through 169 of the Complaint.

                                    COUNT 5
             CLAIM OF WRONGFUL DEATH PREDICATED ON COMMON LAW
                    DANGEROUS INSTRUMENTALITY LIABILITY,
           PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                              AGAINST SK TRAVEL

       170.    SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through 132

of the Complaint as if fully set forth herein.




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       171. – 176.     SPINIELLO does not respond to the allegations contained in Paragraphs

171 through 176 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 171 through 176 of the Complaint.

                                  COUNT 6
        CLAIM OF WRONGFUL DEATH PREDICATED ON VICARIOUS LIABILITY
         PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                            AGAINST SK TRAVEL

       177.      SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through

132 of the Complaint as if fully set forth herein.

       178. – 183.     SPINIELLO does not respond to the allegations contained in Paragraphs

1781 through 183 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 178 through 183 of the Complaint.

                               COUNT 7
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
            MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                         AGAINST SK TRAVEL

       184.     SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through

132 of the Complaint as if fully set forth herein.

       185. – 191.     SPINIELLO does not respond to the allegations contained in Paragraphs

184 through 191 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or
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information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 184 through 191 of the Complaint.

                                        COUNT 8
                             CLAIM OF CONSCIOUS SUFFERING,
                          PURSUANT TO MASS. GEN. LAWS CH. 229, § 6,
                                   AGAINST SK TRAVEL

       192.    SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through 132

of the Complaint as if fully set forth herein.

       193. – 201.     SPINIELLO does not respond to the allegations contained in Paragraphs

199 through 201 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 199 through 201 of the Complaint.

                                  COUNT 9
        CLAIM OF WRONGFUL DEATH PREDICATED ON VICARIOUS LIABILITY
         PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                              AGAINST ARIZIN

       202.      SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through

132 of the Complaint as if fully set forth herein.

       203. – 211.     SPINIELLO does not respond to the allegations contained in Paragraphs

203 through 211 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 203 through 211 of the Complaint.

                                   COUNT 10
              CLAIM OF WRONGFUL DEATH PREDICATED ON COMMON LAW
                     DANGEROUS INSTRUMENTALITY LIABILITY,
                                                 21
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                          PURSUANT TO MASS. GEN. LAWS CH. 229 § 2,
                                    AGAINST ARIZIN

       212.    SPINIELLO incorporates and re-alleges its responses to Paragraphs 1 through 132

of the Complaint as if fully set forth herein.

       213. – 221.     SPINIELLO does not respond to the allegations contained in Paragraphs

213 through 221 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 213 through 221 of the Complaint.

                                 COUNT 11
        CLAIM OF WRONGFUL DEATH PREDICATED ON VICARIOUS LIABILITY
       PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                               AGAINST ARIZIN

       222.      SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       223. – 228.     SPINIELLO does not respond to the allegations contained in Paragraphs

223 through 228 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 223 through 228 of the Complaint.

                                COUNT 12
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
          MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                         AGAINST ARIZIN

       229.      SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.


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       230. – 239.     SPINIELLO does not respond to the allegations contained in Paragraphs

230 through 239 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 230 through 239 of the Complaint.

                                  COUNT 13
           CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE,
                    PURSUANT TO MASS. GEN. LAWS CH. 229, § 6,
                               AGAINST ARIZIN

       240.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       241. – 256.     SPINIELLO does not respond to the allegations contained in Paragraphs

241 through 256 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 241 through 256 of the Complaint.

                                COUNT 14
      CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE,
PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21, AGAINST
       THE ESTATES OF JAMES MCDOWELL AND BAUKE DEVRIES

       257.      SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       258. – 264.     SPINIELLO does not respond to the allegations contained in Paragraphs

258 through 264 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or
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information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 258 through 264 of the Complaint.

                                   COUNT 15
           CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE,
                PURSUANT TO MASS. GEN. LAWS CH. 229 § 6, AGAINST
              THE ESTATES OF JAMES MCDOWELL AND BAUKE DEVRIES

       265.      SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       266. – 272.     SPINIELLO does not respond to the allegations contained in Paragraphs

266 through 272 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 266 through 272 of the Complaint.

                                  COUNT 16
         CLAIM OF WRONGFUL DEATH PREDICATED ON THE BREACH OF THE
                   IMPLIED WARRANTY OF MERCHANTABILITY,
          PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                          AGAINST GULFSTREAM

       273.      SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       274. – 286.     SPINIELLO does not respond to the allegations contained in Paragraphs

274 through 286 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 274 through 286 of the Complaint.

                               COUNT 17
   CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF THE BREACH OF THE
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                             WARRANTY OF MERCHANTABILITY,
                          PURSUANT TO MASS. GEN. LAWS CH. 229 § 6,
                                 AGAINST GULFSTREAM

       287.      SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       288. – 301.     SPINIELLO does not respond to the allegations contained in Paragraphs

288 through 301 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 288 through 301 of the Complaint.

                                COUNT 18
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
          MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                        AGAINST GULFSTREAM

       302.      SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       303. – 316.     SPINIELLO does not respond to the allegations contained in Paragraphs

303 through 316 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 303 through 316 of the Complaint.

                                  COUNT 19
           CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE,
                    PURSUANT TO MASS. GEN. LAWS CH. 229 § 6,
                            AGAINST GULFSTREAM

       317.     SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.
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       318. – 333.     SPINIELLO does not respond to the allegations contained in Paragraphs

318 through 333 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 318 through 333 of the Complaint.



                                      COUNT 20
                          CLAIM FOR PUNITIVE DAMAGES,
                      PURSUANT TO MASS. GEN. LAWS CH. 229 § 2,
                              AGAINST GULFSTREAM

       334.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       335. – 339.     SPINIELLO does not respond to the allegations contained in Paragraphs

335 through 339 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 335 through 339 of the Complaint.

                                     COUNT 21
                  CLAIM OF UNFAIR AND DECEPTIVE TRADE PRACTICES
                      PURSUANT TO MASS. GEN. LAWS CH. 93A § 2,
                               AGAINST GULFSTREAM

       340.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       341. – 358.     SPINIELLO does not respond to the allegations contained in Paragraphs

341 through 358 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of
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conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 341 through 358 of the Complaint.

                                 COUNT 22
         CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE,
       PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
            AGAINST GULFSTREAM AND GULFSTREAM SERVICES

       359.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       360. – 369.     SPINIELLO does not respond to the allegations contained in Paragraphs

360 through 369 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 360 through 369 of the Complaint.

                               COUNT 23
  CLAIM OF WRONGFUL DEATH PREDICATED ON BREACH OF THE IMPLIED
                   WARRANTY OF MERCHANTABILITY,
       PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                   AGAINST ROCKWELL COLLINS

       370.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       371. – 378.     SPINIELLO does not respond to the allegations contained in Paragraphs

371 through 378 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 371 through 378 of the Complaint.


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                                COUNT 24
   CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF THE BREACH OF THE
                IMPLIED WARRANTY OF MERCHANTABILITY,
                 PURSUANT TO MASS. GEN. LAWS CH. 229 § 6,
                       AGAINST ROCKWELL COLLINS

       379.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       380. – 388.     SPINIELLO does not respond to the allegations contained in Paragraphs

380 through 388 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 380 through 388 of the Complaint.

                                COUNT 25
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
          MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                   AGAINST ROCKWELL COLLINS

       389.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       390. – 400.     SPINIELLO does not respond to the allegations contained in Paragraphs

390 through 400 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 390 through 400 of the Complaint.

                              COUNT 26
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
                  TO MASS. GEN. LAWS CH. 229, § 6,
                     AGAINST ROCKWELL COLLINS



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       401.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       402. – 413.     SPINIELLO does not respond to the allegations contained in Paragraphs

402 through 413 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 402 through 413 of the Complaint.

                                      COUNT 27
                  CLAIM OF UNFAIR AND DECEPTIVE TRADE PRACTICES,
                      PURSUANT TO MASS. GEN. LAWS CH. 93A § 2,
                            AGAINST [ROCKWELL COLLINS]

       414.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       415. – 429.     SPINIELLO does not respond to the allegations contained in Paragraphs

415 through 429 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 415 through 429 of the Complaint.

                              COUNT 28
        CLAIM OF WRONGFUL DEATH PREDICATED ON THE BREACH OF
             THE IMPLIED WARRANTY OF MERCHANTABILITY,
         PURSUANT TO MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                         AGAINST HONEYWELL

       430.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.




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       431. – 438.     SPINIELLO does not respond to the allegations contained in Paragraphs

431 through 438 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 431 through 438 of the Complaint.

                              COUNT 29
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF THE BREACH OF IMPLIED
                 WARRANTY OF MERCHANTABILITY,
              PURSUANT TO MASS. GEN. LAWS CH. 229 § 6,
                      AGAINST HONEYWELL

       439.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       440. – 448.     SPINIELLO does not respond to the allegations contained in Paragraphs

440 through 448 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 440 through 448 of the Complaint.

                                COUNT 30
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
          MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                       AGAINST HONEYWELL

       449.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       450. – 460.     SPINIELLO does not respond to the allegations contained in Paragraphs

450 through 460 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of


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conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 450 through 460 of the Complaint.

                              COUNT 31
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
                  TO MASS. GEN. LAWS CH. 229, § 6,
                     AGAINST HONEYWELL

       461.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

       462. – 473.     SPINIELLO does not respond to the allegations contained in Paragraphs

462 through 473 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 462 through 473 of the Complaint.

                                COUNT 32
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
          MASS. GEN. LAWS CH. 229 § 2 AND FLA. STAT. § 768.21,
                        AGAINST MASSPORT

       474.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 1323 of the Complaint as if fully set forth herein.

       475. – 488.     SPINIELLO does not respond to the allegations contained in Paragraphs

475 through 488 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 475 through 488 of the Complaint.

                                               COUNT 33
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CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
                  TO MASS. GEN. LAWS CH. 229, § 6,
                     AGAINST MASSPORT

        489.    SPINIELLO herewith incorporates and re-alleges its responses to Paragraphs 1

through 132 of the Complaint as if fully set forth herein.

        490. – 504.      SPINIELLO does not respond to the allegations contained in Paragraphs

490 through 504 of the Complaint because these allegations are not directed at SPINIELLO. To

the extent these allegations are directed to SPINIELLO, SPINIELLO refers all allegations of

conclusions of law to the Court for determination, and SPINIELLO denies knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraphs 490 through 504 of the Complaint.

               DEFENDANT SPINIELLO COMPANIES’ AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

        Plaintiffs’ causes of action against SPINIELLO should be dismissed because the Court

lacks personal jurisdiction over SPINIELLO.

                              SECOND AFFIRMATIVE DEFENSE

         Plaintiffs have no right under the applicable wrongful death or survival acts to bring the

claims asserted in Plaintiffs’ Complaint, and Plaintiffs’ causes of action against SPINIELLO are

barred in whole or in part because Plaintiffs lack the capacity or standing to commence or

maintain their action.

                               THIRD AFFIRMATIVE DEFENSE

        Plaintiffs’ Complaint and each claim for relief alleged therein fail to state a claim against

SPINIELLO upon which relief can be granted.

                              FOURTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of limitations

or statutes of repose, or by state or federal law.
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                               FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs have failed to join necessary and indispensable parties.



                               SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are be barred, in whole or in part, and/or preempted by federal law.

                            SEVENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by res judicata, collateral estoppel,

   release, and/or by the equitable doctrines of laches, waiver, unclean hands and/or estoppel.

                             EIGHTH AFFIRMATIVE DEFENSE

       SPINIELLO specifically denies any and all allegations in Plaintiffs’ Complaint of fault,

duty, breach of duty, negligence, act, omission, gross negligence, wanton or reckless conduct,

causation in fact, legal, direct, proximate or contributing causation, vicarious liability, and

damages by or attributable to SPINIELLO, and demands strict proof thereof.

                              NINTH AFFIRMATIVE DEFENSE

       Any and all injuries or damages allegedly incurred by Plaintiffs were the result of

conditions, events, persons or entities over which SPINIELLO had no control and for which

SPINIELLO had and has no legal responsibility.

                              TENTH AFFIRMATIVE DEFENSE

       At the time of the Subject Accident SPINIELLO did not have any legal right to control,

did not exercise any right of control or supervision over, and had no legal responsibility for, any

person who may have proximately caused the Subject Accident and Plaintiffs’ alleged injuries

and damages therefrom.

                           ELEVENTH AFFIRMATIVE DEFENSE

At the time of the Subject Accident SPINIELLO was not the owner, or in possession or control,

or in control of the operation, of the Subject Aircraft, and therefore, SPINIELLO is not liable or
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legally responsible for any alleged negligent operation of the Subject Aircraft under the

applicable law.

                           TWELFTH AFFIRMATIVE DEFENSE

       SPINIELLO was not in actual possession or control of the operation of the Subject

Aircraft at the time of the Subject Accident, and therefore, pursuant to 49 U.S.C. § 44112,

SPINIELLO is not liable or legally responsible for the Subject Accident or Plaintiffs’ alleged

injuries and damages therefrom.

                             THIRTEENTH AFFIRMATIVE DEFENSE

       The Subject Aircraft and its component parts were owned, leased, and/or operated by a

knowledgeable and sophisticated user(s) over whom SPINIELLO had no supervision or control,

and Plaintiffs’ claims are barred by the sophisticated user doctrine.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint and each claim for relief therein are barred because Plaintiffs’

decedent knew, or in the exercise of ordinary care should have known, of the risks and hazards

involved in the undertaking in which he was engaged, but nevertheless knowing of said risks and

hazards, did freely and voluntarily consent to assume said risks and hazards incident to said

undertaking at the time and place mentioned in Plaintiffs’ Complaint.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       Any and all injuries or damages allegedly incurred by Plaintiffs were the result of an

unavoidable accident.

                          SIXTEENTH AFFIRMATIVE DEFENSE

       The sole proximate cause of Plaintiffs’ alleged injuries and damages was the acts or

omissions of others for whose conduct SPINIELLO was and is not liable or legally responsible.

                        SEVENTEENTH AFFIRMATIVE DEFENSE



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       In the event it may be determined that at the time of the Subject Accident SPINIELLO

may have had any employment relationship with either one of the Pilots with respect to the

Plaintiffs’ decedent’s personal use of the Subject Aircraft, which is denied, then any such

relationship was for administrative purposes only, the Pilots were not engaged in any business of

or business purpose for SPINIELLO at the time of the Subject Accident or with respect to the

Subject Aircraft, SPINIELLO was not even aware of nor authorized, participated in, condoned or

ratified any alleged act or omission by the Pilots with respect to the Subject Accident or the

Subject Aircraft, and/or at the time of the Subject Accident the Pilots were the borrowed or

loaned servants to and under the direct control and supervision of Plaintiff’s decedent or of an

entity over which SPINIELLO had no interest, ownership or control.

                         EIGHTEENTH AFFIRMATIVE DEFENSE

       Any and all injuries or damages allegedly incurred by Plaintiffs were caused in whole or

in part by and through the acts or omissions of a person or persons for whose conduct

SPINIELLO was and is not responsible and over which SPINIELLO had no control; as such, any

damages ultimately deemed recoverable by Plaintiffs against SPINIELLO should be barred or

reduced accordingly.

                         NINETEENTH AFFIRMATIVE DEFENSE

       Without admitting any fault or legal liability on the part of SPINIELLO, other persons,

entities or parties which may as yet be known or unknown, or which may be discovered, were

contributorily negligent, comparatively at fault, or otherwise legally responsible in whole or in

part for any and all injuries and damages allegedly incurred by Plaintiffs; and therefore, any and

all recovery against SPINIELLO must be extinguished or diminished by an amount proportional

to Plaintiffs’ decedent’s, and/or such other person’s or persons’ and party’s or parties’ degree(s)

of negligence, fault, or other legal responsibility, as required by the law(s) of indemnity,

contribution, apportionment and/or other applicable law.
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                           TWENTIETH AFFIRMATIVE DEFENSE

         Any and all injuries or damages allegedly incurred by Plaintiffs were the result of a new

and independent cause(s) not reasonably foreseeable by SPINIELLO that became the direct and

 proximate intervening and superseding cause(s) of the Subject Accident for which SPINIELLO

is and cannot be held liable or legally responsible.

                         TWENTY-FIRST AFFIRMATIVE DEFENSE

        To the extent that Plaintiffs may have sustained any alleged injuries or damages,

Plaintiffs have failed to mitigate those damages as required by applicable law.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

        To the extent permitted by the applicable law, SPINIELLO is entitled to claim offsets

from any settlements, verdicts, collateral sources and/or any other monies received by or paid for

or to the benefit of Plaintiffs in this or any other litigation and/or claims arising out of the Subject

Accident at issue in this lawsuit.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

        Some or all of Plaintiffs’ alleged injuries and damages may be barred by virtue of prior or

future settlements with respect to Plaintiffs, Plaintiffs’ decedent or Plaintiffs’ decedent’s estate.

                       TWENTY-FOURTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims may be barred because Plaintiffs have been or will be fully satisfied

and/or compensated for their injuries or damages, if any.

                         TWENTY-FIFTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims for punitive damages violate SPINIELLO’s Due Process and Equal

Protection rights, and such damages constitute an impermissible fine under the United States

Constitution or other applicable law.



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       WHEREFORE, SPINIELLO COMPANIES demands judgment dismissing Plaintiffs’

Complaint and Demand for Trial By Jury, with prejudice, in its entirety or, alternatively,

judgment limiting any liability on the part of SPINIELLO, pursuant to the foregoing, and that

this Court grant SPINIELLO an award of its costs, disbursements, and attorneys’ fees with

respect to its defense of the within action, and any other relief at law or in equity that this Court

may deem just and proper.


                                              Respectfully submitted,

                                              DEFENDANT
                                              SPINIELLO COMPANIES

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                                                       – and –

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                                              Its Attorneys




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                                       CERTIFICATION

        I certify that on August 21, 2017 a copy of the foregoing was electronically filed and
served by regular mail, postage prepaid, and/or e-mail, on anyone unable to accept electronic
filing. Notice of this filing will be sent by e-mail to all parties by operation of the Court's
electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court's CM/ECF System.


                                                     ___/s/ Steven E. Arnold______
                                                            Steven E. Arnold




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